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Malibu Media v. re \-. 16-3628 (6th Cir.

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File Name: 1720499n,06

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UNITED STATES COURT OF APPEALS | DEBORAH 8. HUNT, Clork

FOR THE SIXTH CIRCUIT

No, 16-3638

MALIBU MEDIA, LLC,

Plamutf-Appellee,
ON APPEAL FROM THE

UNITED STATES DISTRICT
COURT FOR THE SOUTHERN
DISTRICT OF OHIO

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OPINION

Delendamt-Appellant.

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BEFORE: SUHRHEINRICH, BATCHELDER, sod STRANCH, Circuit Judges

JANE B, STRANCH, Circuit Judge. Malibu Media filed suit scoinst
for copyright infringement, alleging that he illegally downloaded various films owned by Malibu
Media. | a counterclaim against Malibu Media, seeking a declaratory judgment
that he was not a copyright infringer, which the district court dismissed as redundant to the
plaintiff's claims. Malibu Media filed a motion to voluntarily dismiss the action pursuant to

Federal Rule of Civil Procedure 41(a\(2), which the district court granted. a e's the
 

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United States Court of Appeals, Sixth Circuit.

MALIBU MEDIA, LLC, Plaintiff-Appellee, v. RE 2 efercant-Appeliant.

No. 16-3628

 

Decided: August 28, 2017

BEFORE: SUHRHEINRICH, BATCHELDER, and STRANCH, Circuil Judges
OPINION

Malibu Media filed suit agains! a copyright infrngemeni, alleging that he illegally
downloaded various tims owned by Malibu Media. BRR brought a counterclaim against
Malibu Media, seeking a declaratory judgment that he was not a copyright infringer, which the
district court dismissed as redundant to the plaintiff's claims. Malibu Media filed a motion to
voluntarily dismiss the action pucsuant to Federal Rule of Civil Procedure 41(a}(2}, which the
district court granted, ippeals the district courts dismissal of Malibu Media’s claims
against him and the dismussal of his counterclaim, For (he following reasons, we AFFIRM,

|. BACKGROUND

Malibu Media, LLC, produce: hat it offers on the web via paid subscription.

Despite this fee structure, Malibu Media states that on a monthly basis approximately 80,000 U.S.
residents use BitTorrent, a peer-to-peer filé transfer protocol used for sharing large amounts of
data over the Internet, to download Malibu Media's movies. This has spurred Malibu Media to file
hundreds of copyright infringement clans in federal courls across the country, including more
than 200 cases in the U.S. District Caurt for the Southern District of Ohio. MM erques that
these cases are all similarly pled and follow an inappropriate litigation model.

Here Malibu Media broug!t suit agaist a John Doe defendant identited by his Internet Protocol
{IP) address, alleging that he had used BitTorrent technology to download, copy, and distribute 26
movies copyrighted by Malibu Media. Malibu Media served a third-party subpoena Gn the Internet
Service Provider connected to the IP address to obtain the identity of the subscriber, and

 

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MALIBU MEDIA, LLG, Plaintiff-Appellee, v. ee
Appellant.

 

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JANE B. STRANCH, Circuit Judge.

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File Name: 17a0499n.06 ON APPEAL FROM ‘THE UNITED STATES
DISTRICT COURT FOR THE SOUTHERN DISTRICT OF OHIO OPINION
BEFORE: SUHRHEINRICH, BATCHELDER, and STRANCH, Gircuit
Judges

JANE B. STRANCH, Circuit Judge. Malibu Media filed suit against
ae: copyright infringement, alleging that he illegally downloaded
various films owned by Malibu Media. srought a counterclaim
against Malibu Media, secking a declaratory judgment that he was nota
copyright infringer, which the district court dismissed as redundant to the
plaintiff's claims. Malibu Media filed a motion to voluntarily dismiss the
action pursuant to Federal Rule of Civil Procedure 41(a) (2), which the
district court granted. BE appeals the district court’s dismissal of
Malibu Media’s cluims apainst him and the dismissal of his counterclaim. For
 

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United States Court of Appeals for the Sixth Circuit

MALIBU MEDIA, LLC, Plaintiff-Appellee, v. mm

GE 0: fencdant-appellant

705 F, App'x 402

No, 16-3628
Aug. 28, 2017

United States Court of Appeals, Sixth Circuit.

4H is Matthew A, Dooley, O'Toole McLaughlin Dooley & Pécora, Shettield
Village, OH, for Plaintiff-Appellee

Joseph Bahgat, Law Office, Columbus, OH, Jason E. Sweet, Booth Sweet,
Cambridge, MA, for Defendant-Appellant

BEFORE: SUHRHEINRICH, BATCHELDER, and STRANCH, Circuit Judges

Opinion

OPINION

Author J4Adn SS ENR cecil Badeey

Matibu Media filed suit against [MM or copyright infringement, alleging thathe
illegally downtoaded various films owned by Malibu Media. drought a counterclaim

against Malibu Media, seeking a declaratory judgment that ne was not a copyright infringer,
which the district court dismissed as redundant to the plaintiffs claims. Malibu Media filed a
motion to voluntarily dismiss the action pursuant to Federal Rule of Civil Procedure 41(a}(2),
which the district court granted. SM appeals the district court’s dismissal of Malibu
Media's claims against him and the dismissal of his counterclaim. For the following reasons,

we AFFIRM,
1, BACKGROUND

Malibu Media, LLC, produces MM chat it offers on’ the web via paid
subscription. Despite this fee structure, Malibu Media states that on a monthly basis

43/20 approximately 80,000 U.S. residents use BitTorrent, a peer-to-peer file transfer protocol used
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File Name: 17a0499n.06

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